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                          FOR PUBLICATION

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

         LARS JENSEN, Doctor,                       No. 23-2545
                                                      D.C. No.
                     Plaintiff - Appellant,
                                                   3:22-cv-00045-
                                                     LRH-CLB
           v.

         NATALIE BROWN, Doctor; ANNE
         FLESHER; KARIN HILGERSOM,                   OPINION
         Doctor; MARIE MURGOLO;
         MELODY ROSE, Doctor,

                     Defendants - Appellees.

                Appeal from the United States District Court
                         for the District of Nevada
                 Larry R. Hicks, District Judge, Presiding

                  Argued and Submitted November 4, 2024
                             Phoenix, Arizona

                           Filed March 10, 2025

           Before: Richard A. Paez, Marsha S. Berzon, and John B.
                           Owens, Circuit Judges.

                         Opinion by Judge Berzon
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                                   SUMMARY *


                         First Amendment Retaliation

             The panel reversed the district court’s dismissal of an
         action brought by Lars Jensen, a math professor at Truckee
         Meadows Community College, alleging that Truckee
         Meadows Community College and Nevada System of
         Higher Education administrators (the “Administrators”)
         retaliated against him and violated his due process and equal
         protection rights after he voiced concerns about a policy
         change to the math curriculum standards.
             The panel held that the district court erroneously
         dismissed Jensen’s First Amendment retaliation claim for
         damages against the Administrators in their personal
         capacities. Jensen pleaded a First Amendment violation
         because (1) Jensen’s criticism of the changes in the college
         mathematics curriculum addressed a matter of public
         concern; (2) the speech, related to scholarship or teaching,
         was not barred from First Amendment protection even if
         Jensen spoke pursuant to his official duties; (3) Jensen
         sufficiently alleged that the adverse employment actions
         were motivated, at least in part, by his speech; and (4) the
         Administrators had not made a showing of an “actual,
         material and substantial disruption” or “reasonable
         predictions of disruption” to support their claim that the
         state’s interest outweighed Jensen’s. The Administrators
         were not entitled to qualified immunity because it was
         clearly established at the time that a professor has a right to

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         speak about a school’s curriculum without being
         reprimanded, given negative performance reviews, and put
         through an investigation and termination hearing.
             The panel held that Jensen’s First Amendment claim
         against the Administrators in their official capacities was not
         barred by Eleventh Amendment sovereign immunity
         because Jensen sought prospective relief in the form of
         (1) an injunction to expunge negative records from his file
         and to end the Administrators’ custom and practice of
         retaliatory actions, and (2) a declaratory judgment that such
         retaliation violates the First Amendment.
             The panel held that Jensen did not identify an interest
         that could form the basis of a procedural due process claim
         and that his equal protection claim failed because he had not
         alleged he belonged to a discrete class. Nevertheless, the
         district court abused its discretion in denying Jensen leave to
         amend these claims without explanation. The panel
         therefore reversed and remanded so that Jensen may have the
         opportunity again to seek leave to amend these claims.



                                  COUNSEL

         Daniel Ortner (argued), Becket Fund for Religious Liberty,
         Washington, D.C.; Joshua Bleisch and Joshua House,
         Foundation for Individual Rights and Expression,
         Washington, D.C.; Michael E. Langton, Law Office of
         Michael E. Langton, Reno, Nevada; John M. Nolan,
         University of Nevada Reno, Management Department
         College of Business, Reno, Nevada; Mark Mausert and Sean
         McDowell, Law Offices of Mark Mausert, Reno, Nevada;
         for Plaintiff-Appellant.
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         Kiah D. Beverly-Graham (argued), Truckee Meadows
         Community College, Reno, Nevada, for Defendants-
         Appellees.
         Luke A. Busby, Luke Andrew Busby Ltd, Reno, Nevada;
         Risa Lieberwitz, Aaron Nisenson, and Edward Swidriski,
         American Association of University Professors,
         Washington, D.C.; for Amici Curiae American Association
         of University Professors and Nevada Faculty Alliance.



                                 OPINION

         BERZON, Circuit Judge:

             Plaintiff Lars Jensen, a math professor at a Nevada
         community college, voiced concerns about a policy change
         that he argues caused the math department to lower its
         curriculum standards. He alleges that soon after, Jensen was
         reprimanded, pressured to resign from another faculty
         member’s tenure committee, given two consecutive negative
         performance reviews, and required to undergo an
         investigation and termination hearing. Our question is
         whether Jensen has pleaded plausible First Amendment, due
         process, and equal protection violations arising from these
         events.
             We conclude that the district court erroneously
         dismissed Jensen’s First Amendment retaliation claims. We
         further conclude that Jensen did not adequately plead due
         process and equal protection claims, but the district court
         abused its discretion in denying Jensen leave to amend.
         Accordingly, we reverse and remand.
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                                   I. Background
                             A. Factual Background 1
            Plaintiff Lars Jensen is a mathematics professor at
         Truckee Meadows Community College (“TMCC”). TMCC
         is part of the Nevada System of Higher Education
         (“NSHE”).
             In June of 2019, the Board of Regents for the NSHE
         adopted a new “co-requisite policy.” Under the co-requisite
         policy, students would be placed in college level math
         classes even if they needed remedial math instruction.
         Students who needed remedial math instruction would be
         required to take remedial classes as “co-requisites”
         alongside college level classes, instead of as “pre-requisites”
         before taking college level math courses. To maintain course
         completion rates under this policy, TMCC’s math
         department decided to lower the academic level of certain
         math classes. On December 18, 2019, Jensen sent an email
         to the math department faculty in which he expressed
         concerns about the department’s new standards for
         coursework.
             On January 21, 2020, Julie Ellsworth, the Dean of
         Sciences at TMCC, facilitated a “Math Summit” to discuss
         the co-requisite policy’s implementation “with the
         community.” During a question-and-answer session
         following a presentation from Ellsworth, Jensen attempted

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           Because this appeal arises from the grant of a motion to dismiss under
         Federal Rule of Civil Procedure 12(b)(6), we accept as true the
         allegations of Jensen’s first amended complaint. See Metzler Inv. GMBH
         v. Corinthian Colls., Inc., 540 F.3d 1049, 1061 (9th Cir. 2008). Our
         review “is limited to the complaint, materials incorporated into the
         complaint by reference, and matters of which the court may take judicial
         notice.” Id.
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         to comment on the co-requisite policy. Ellsworth cut him off
         and announced that the question-and-answer session had
         ended. After Jensen again attempted to speak, Ellsworth
         directed him to the “parking lot,” a whiteboard that was
         provided for Math Summit participants to post comments.
              Jensen then went to his office and created a handout,
         titled “On the Math Pathways – Looking Under the Hood,”
         which discussed his concerns with the new co-requisite
         policy. 2 The one-page document criticized the fact that the
         math department, in response to the policy, decided to
         “lower the academic level of Math 120 so students will be
         able to complete the course at current rates.” Jensen argued
         that this curriculum change would impact “31% of
         [TMCC’s] degree[] and certificate programs by lowering the
         math[] and technical skills of graduates in these programs.”
         He concluded by discussing the impact on the community,
         noting that local employers subsidize TMCC through tax
         revenue and expect in return to be able to hire qualified
         graduates.
             Jensen returned to the Math Summit with copies of the
         handout. During a break in the Summit’s programming, he
         went room to room distributing his handout to the
         participants. When he began passing out his handout in
         Ellsworth’s room, she picked up the copies he had
         distributed and motioned for the participants in the room to
         pass their handout copies to her. Jensen reminded Ellsworth
         that it was break time and that he was not being disruptive
         or disturbing anyone, but Ellsworth again instructed Jensen

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           The handout’s contents are properly before us because the handout was
         attached as an exhibit to Jensen’s complaint. See Fed. R. Civ. P. 10(c)
         (“A copy of a written instrument that is an exhibit to a pleading is a part
         of the pleading for all purposes.”).
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         not to distribute the handout. Jensen then distributed his
         handout to two other rooms of Summit participants. When
         he returned to Ellsworth’s room and attempted to
         disseminate his handout again, she directed him to stop. The
         pair went into the hallway to talk, and Ellsworth again told
         Jensen that he could not circulate his handout. During this
         conversation, she accused him of “disobeying her” and being
         a “bully,” stated that his conduct was “disruptive,” and
         warned him that he had “made an error by defying her.”
             True to her word, one week after the Math Summit
         Ellsworth sent Jensen a letter of notice of reprimand along
         with a proposed letter of reprimand addressing Jensen’s
         “insubordination” at the event. An official letter of
         reprimand was sent and placed in Jensen’s personnel file on
         March 30, 2020.
             Shortly after receiving the notice of reprimand, Jensen
         sent an email to the entire TMCC faculty related to the co-
         requisite policy. The email, titled “Lowering Standards is
         Criminal – Literally,” argued that the faculty was failing to
         maintain certain instructional standards required by the
         NSHE Handbook.
             About a week after sending this email, Jensen, after
         pressure from Ellsworth, resigned as chair and member of
         another professor’s tenure committee. Ellsworth then began
         to raise issues with Jensen’s syllabus policies, which she
         characterized as “punitive.” These course policies mirrored
         those that had been used for years by other professors in the
         math department, none of whom Ellsworth similarly
         reprimanded.
             During the 2019-2020 annual performance evaluations
         conducted in May 2020, the department chair recommended
         that Jensen be rated “excellent 2.” Ellsworth scored Jensen’s
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         performance as “unsatisfactory,” the lowest possible rating.
         In the evaluation, Ellsworth wrote, “Professor Jensen
         exhibited insubordination in two instances, one which is
         documented in relationship to the Math Summit and is on
         record in HR, and the other one in regard to the requested
         alteration of a course syllabus.”
             During the following year’s annual performance
         evaluation, the department chair recommended that Jensen
         be scored “excellent.” Anne Flesher, the Dean of Math and
         Physical Sciences at TMCC, rated Jensen “unsatisfactory.”
         Flesher had attended the Math Summit and had criticized
         Jensen during the event. To justify the “unsatisfactory”
         rating, Flesher identified minor issues with Jensen’s
         performance, based on criteria that Jensen asserts were not
         equally applied to other faculty.
             Following that evaluation, Flesher informed TMCC
         President Karin Hilgersom that Jensen had received two
         consecutive     “unsatisfactory”    annual    performance
         evaluations. Under the NSHE Handbook, receiving two
         consecutive “unsatisfactory” rankings automatically triggers
         a disciplinary hearing to determine if the faculty member
         should be terminated. Hilgersom appointed Natalie Brown,
         a TMCC administrator, to investigate Jensen before the
         hearing. A termination hearing was then held. Jensen takes
         issue with numerous aspects of the investigation and
         hearing, which he contends did not conform to the
         procedures set out in the NSHE Handbook. 3 Jensen does not

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           The allegations include that TMCC lacked the authority to investigate
         Jensen, that the individual initially appointed to preside over the hearing
         was biased, that one of the hearing committee members was biased, and
         that Jensen was denied subpoenas to obtain certain records and
         witnesses.
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         allege that he was terminated or that any other discipline
         resulted from the hearing.
                              B. Procedural History
             Jensen then instigated the present action against various
         TMCC and NSHE administrators (“the Administrators”),
         alleging (1) First Amendment retaliation, (2) procedural due
         process violations, and (3) equal protection violations. 4 His
         First Amendment retaliation claim was brought against the
         Administrators in their personal and official capacities. The
         due process and equal protection claims were brought
         against the Administrators in their personal capacities only. 5
             The Administrators moved to dismiss Jensen’s first
         amended complaint, arguing that his official capacity claim
         was barred by sovereign immunity and his personal capacity
         claims by qualified immunity. The district court granted the
         motion and dismissed Jensen’s claims with prejudice,
         denying Jensen leave to amend. Jensen now appeals the
         district court’s dismissal.
                                    II. Discussion
               A. Personal Capacity First Amendment Claim
             We turn first to Jensen’s First Amendment retaliation
         claim for damages against the Administrators in their
         personal capacities. A public official sued for damages in


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           Jensen also brought claims under the Nevada Constitution. The district
         court did not consider the merits of the state law claims but dismissed
         them without prejudice on sovereign immunity and pendant jurisdiction
         grounds. Jensen has not appealed the dismissal of the state claims.
         5
           Jensen’s due process claim was brought only against Brown,
         Hilgersom, and Flesher. His other claims were brought against all of the
         Administrators.
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          their individual capacity is entitled to qualified immunity
          unless (1) “the facts alleged, taken in the light most
          favorable to the party asserting the injury, show that the
          official’s conduct violated a constitutional right” and (2) the
          right at issue “was clearly established ‘in light of the specific
          context of the case’” at the time of the alleged misconduct.
          Clairmont v. Sound Mental Health, 632 F.3d 1091, 1100 (9th
          Cir. 2011) (quoting Saucier v. Katz, 533 U.S. 194, 201
          (2001)).
              Ordinarily, courts may decide these issues sequentially
          or not, depending on the circumstances. See Pearson v.
          Callahan, 555 U.S. 223, 236-39 (2009); Olson v. County of
          Grant, 127 F.4th 1193, 1203 (9th Cir. 2025); Horton ex rel.
          Horton v. City of Santa Maria, 915 F.3d 592, 599-602 (9th
          Cir. 2019). But in this instance, the merits of the First
          Amendment claim need to be decided for purposes of the
          official capacity prospective relief sought. See infra pp. 30-
          35. And as we ultimately conclude that the Administrators
          did violate clearly established law, see infra pp. 25-30, we
          must address the merits of the constitutional issue for that
          reason as well. So we assess first whether Jensen has pleaded
          a First Amendment violation.
                    i. Underlying Constitutional Violation
              “The First Amendment shields public employees from
          employment retaliation for their protected speech activities.”
          Karl v. City of Mountlake Terrace, 678 F.3d 1062, 1068 (9th
          Cir. 2012). Where a public employer retaliates against an
          employee for workplace-related speech, the First
          Amendment requires “balanc[ing] . . . the interests of the
          [public employee], as a citizen, in commenting upon matters
          of public concern and the interest of the State, as an
          employer, in promoting the efficiency of the public services
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          it performs through its employees.” Pickering v. Bd. of
          Educ., 391 U.S. 563, 568 (1968). We have distilled
          Pickering and its progeny into a five-part inquiry:

                   (1) whether the plaintiff spoke on a matter of
                   public concern; (2) whether the plaintiff
                   spoke as a private citizen or public employee;
                   (3) whether the plaintiff's protected speech
                   was a substantial or motivating factor in the
                   adverse employment action; (4) whether the
                   state had an adequate justification for treating
                   the employee differently from other members
                   of the general public; and (5) whether the
                   state would have taken the adverse
                   employment action even absent the protected
                   speech.

          Eng v. Cooley, 552 F.3d 1062, 1070 (9th Cir. 2009). Only
          the first four prongs are at issue here. 6
                            a. Matter of Public Concern
             To be covered under the Pickering doctrine, Jensen’s
          speech must have been on a matter of public concern. See
          Eng, 552 F.3d at 1070. “Speech involves a matter of public
          concern when it can fairly be considered to relate to ‘any
          matter of political, social, or other concern to the
          community.’” Johnson v. Multnomah Cnty., 48 F.3d 420,

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            On appeal the Administrators briefly touch on the fifth prong by
          asserting that Jensen did not plausibly allege that the Administrators
          would not have taken disciplinary action but for his speech. The
          Administrators, not Jensen, had the burden on that prong. See Eng, 552
          F.3d at 1072. Additionally, the Administrators did not raise this
          argument before the district court and so forfeited it. See Cmty. House,
          Inc. v. City of Boise, 490 F.3d 1041, 1053 (9th Cir. 2007).
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          422 (9th Cir. 1995) (quoting Connick v. Myers, 461 U.S.
          138, 146 (1983)). “Even if only ‘a relatively small segment
          of the general public’ might have been interested in the
          subject of [the speech], that is sufficient.” Hernandez v. City
          of Phoenix, 43 F.4th 966, 978 (9th Cir. 2022) (citation
          omitted). In contrast, “individual personnel disputes and
          grievances . . . of no relevance to the public’s evaluation of
          the performance of governmental agencies” are not matters
          of public concern. McKinley v. City of Eloy, 705 F.2d 1110,
          1114 (9th Cir. 1983).
              “Whether an employee’s speech addresses a matter of
          public concern must be determined by the content, form, and
          context of a given statement, as revealed by the whole
          record.” Connick, 461 U.S. at 147-48. “Of these, content is
          the most important factor.” Demers v. Austin, 746 F.3d 402,
          415 (9th Cir. 2014). “We adhere to a liberal construction of
          what an issue ‘of public concern’ is under the First
          Amendment.” Roe v. City of San Francisco, 109 F.3d 578,
          586 (9th Cir. 1997).
               Jensen’s criticism of the changes in TMCC’s
          mathematics curriculum addressed a matter of public
          concern. “[T]he preferable manner of operating [a] school
          system . . . clearly concerns an issue of general public
          interest.” Pickering, 391 U.S. at 571. The handout Jensen
          distributed at the Math Summit spoke to the preferable
          manner of operating TMCC, specifically its math
          department. Jensen described how the math department’s
          lowered standards would impact almost a third of TMCC’s
          degree and certificate programs and how graduates would
          consequently have inadequate math and technical skills
          when entering the job market. Jensen also grounded his
          criticism in the effect these lower standards would have on
          the community, noting that employers in the surrounding
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          area subsidize TMCC through their taxes and expect
          competent graduates in return. The decline of TMCC’s
          educational standards and the resulting impact on the
          community is a matter of public concern.
              Any doubt in this regard is resolved by the similarities
          between Jensen’s handout and the speech at issue in Demers.
          David Demers, a professor at the Edward R. Murrow
          College of Communication at Washington State University,
          distributed a pamphlet opining on an ongoing controversy
          over whether to separate the school’s Mass Communications
          faculty, “which had a professional and practical orientation,”
          from the Communications Studies faculty, “which had a
          more traditional academic orientation.” Demers, 746 F.3d at
          407. Demers’s pamphlet contained a plan for separating the
          two faculties and recommended other changes that would
          strengthen the Mass Communications department and its
          practical focus. Id. We concluded that the pamphlet spoke
          on a matter of public concern, as it addressed “broad
          proposals to change the direction and focus of the School.”
          Id. at 416.
              In criticizing the recent curriculum changes, Jensen
          similarly addressed the “the direction and focus” of TMCC.
          Id. Moreover, like the Demers pamphlet, Jensen’s handout
          “did not focus on a personnel issue or internal dispute of no
          interest to anyone outside a narrow ‘bureaucratic niche.’” Id.
          (quoting Tucker v. Cal. Dep’t of Educ., 97 F.3d 1204, 1210
          (9th Cir. 1996)). “Nor did the [handout] address the role of
          particular individuals in [TMCC], or voice personal
          complaints.” Id. Instead, it focused on the effect that the
          math curriculum changes would have on students and on the
          broader community.
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               The Administrators contend that Jensen’s handout was
          distributed less widely than the pamphlet in Demers. Demers
          posted his pamphlet to his website and sent it to alumni,
          friends, and newspapers, as well as other faculty members,
          id.; Jensen circulated his handout at the Math Summit, which
          was open to the “community.” The parties dispute whether
          the “community” included members of the public or was
          limited to individuals affiliated with TMCC. Either way, the
          same result follows.
              “If an employee expresses a grievance to a limited
          audience, such circulation can suggest a lack of public
          concern.” Id. “But limited circulation is not, in itself,
          determinative.” Id. “The form of the speech—complaints to
          staff and superiors rather than to the general public—does
          not remove it from the realm of public concern.”
          Chateaubriand v. Gaspard, 97 F.3d 1218, 1223 (9th Cir.
          1996). In Rankin v. McPherson, for example, a public
          employee’s remark about a presidential assassination
          attempt made to only the employee’s co-worker addressed a
          matter of public concern. 483 U.S. 378, 381-82, 385-87
          (1987). Similarly, Anthoine v. North Central Counties
          Consortium held that speech made only to the chairman of
          the governing board of the plaintiff’s employer addressed a
          matter of public concern. 605 F.3d 740, 749 (9th Cir. 2010).
          Although the audience to whom a public employee’s speech
          is addressed may be instructive “[i]n a close case, when the
          subject matter of a statement is only marginally related to
          issues of public concern,” Johnson, 48 F.3d at 425, the
          nature of Jensen’s speech does not present a close question.
          As a result, the scope of Jensen’s handout distribution does
          not affect our conclusion that Jensen has plausibly alleged
          that he spoke on a matter of public concern.
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                       b. Speaking as a Private Citizen
              Next we must ask “whether the plaintiff spoke as a
          private citizen or public employee.” Eng, 552 F.3d at 1070.
          The premise of this requirement, derived from Garcetti v.
          Ceballos, is that generally, “when public employees make
          statements pursuant to their official duties, the employees
          are not speaking as citizens for First Amendment purposes,
          and the Constitution does not insulate their communications
          from employer discipline.” 547 U.S. 410, 421 (2006). But
          Garcetti noted that it was not “decid[ing] whether the
          analysis [the Court] conduct[ed] . . . would apply in the same
          manner to a case involving speech related to scholarship or
          teaching.” Id. at 425.
              Addressing that open question in Demers, we held that
          “Garcetti does not—indeed, consistent with the First
          Amendment, cannot—apply to teaching and academic
          writing that are performed ‘pursuant to the official duties’ of
          a teacher and professor.” 746 F.3d at 412. Rather, speech
          “related to scholarship or teaching” is covered by the
          Pickering doctrine even if it was made pursuant to a public
          employee’s official duties. Id.
              Not all speech made by a higher education employee
          relates to scholarship or teaching. For example, proposals “to
          allocate one additional teaching credit for teaching a large
          class instead of a seminar, to adopt a dress code that would
          require male teachers to wear neckties, or to provide a wider
          range of choices in the student cafeteria” are likely too
          attenuated from academic topics to be classified as relating
          to scholarship or teaching. Id. at 415. Conversely, the
          scholarship or teaching exception does not require that the
          speech be published in an academic journal or uttered while
          instructing a class. The pamphlet in Demers, for example,
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          was speech related to scholarship or teaching because, “if
          implemented, [the pamphlet’s proposals] would have
          substantially altered the nature of what was taught at the
          school.” Id.
              As Demers exemplifies, speech about a school’s
          curriculum is “related to scholarship or teaching” and so falls
          outside Garcetti’s purview, even if that speech is not made
          while teaching a class or producing scholarship. We noted in
          Demers that although “[i]t may in some cases be difficult to
          distinguish between what qualifies as speech ‘related to
          scholarship or teaching’ . . . this is not such a case,”
          indicating that speech about a school’s curriculum fits
          comfortably within the scholarship or teaching exception.
          Id.; see also id. at 413 (recognizing in a separate example
          that speech about a “department’s curriculum” is related to
          scholarship or teaching).
              Like the pamphlet in Demers, Jensen’s speech concerned
          “what was taught at the school.” Id. It denounced the co-
          requisite policy and the resulting effect on standards for
          students’ completion of math courses. Further, like the
          plaintiff in Demers, Jensen rooted his criticism of the
          curriculum change in concerns over the quality of education
          students would receive. Id. Because Jensen’s speech was
          focused on the contents of TMCC’s math curriculum, it
          relates to scholarship or teaching and does not come within
          Garcetti’s bar on First Amendment protection for speech
          made pursuant to a public employee’s official duties.
                             c. Motivating Factor
             The next inquiry is “whether the plaintiff’s protected
          speech was a substantial or motivating factor in the adverse
          employment action.” Eng, 552 F.3d at 1070. “To constitute
          an adverse employment action, a government act of
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          retaliation need not be severe and it need not be of a certain
          kind.” Coszalter v. City of Salem, 320 F.3d 968, 975 (9th Cir.
          2003). “Depending on the circumstances, even minor acts of
          retaliation can infringe on an employee’s First Amendment
          rights.” Id. “The goal is to prevent, or redress, actions by a
          government employer that ‘chill the exercise of protected’
          First Amendment rights.” Id. at 974-75 (quoting Rutan v.
          Republican Party, 497 U.S. 62, 73 (1990)).
              Jensen avers that he experienced several adverse
          employment actions. Specifically, he alleges that he was
          (1) issued a letter of notice of reprimand and a letter of
          reprimand; (2) pressured to resign from another faculty
          member’s tenure committee; (3) given two “unsatisfactory”
          performance evaluations even though the department head
          had recommended that he be evaluated as “excellent 2” or
          “excellent”; (4) subjected to an investigation into his
          performance; and (5) required to undergo a termination
          hearing. These actions, especially when considered
          collectively, were “reasonably likely to deter” employees
          from “engaging in speech protected under the First
          Amendment.” Id. at 976-77.
              Jensen has also alleged facts that plausibly support the
          inference that his speech at the Math Summit was a
          substantial or motivating factor for the adverse employment
          actions. “A plaintiff may establish motive using direct or
          circumstantial evidence.” Ariz. Students’ Ass’n v. Ariz. Bd.
          of Regents, 824 F.3d 858, 870 (9th Cir. 2016). “At the
          pleading stage, a plaintiff adequately asserts First
          Amendment retaliation if the complaint alleges plausible
          circumstances connecting the defendant’s retaliatory intent
          to the suppressive conduct.” Id.
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              Jensen’s complaint plausibly links the allegedly
          retaliatory acts to his speech. At the Math Summit, Ellsworth
          vocally opposed Jensen’s distribution of his handout and
          informed Jensen that he had “made an error by defying her.”
          The notice of reprimand, sent one week after the Summit,
          was explicitly a response to Jensen’s alleged insubordination
          at the Math Summit. Just a few weeks later, Ellsworth
          pressured Jensen to resign from the tenure committee of
          another faculty member. The following month, Ellsworth
          gave Jensen an official letter of reprimand expressly based
          on the conduct identified in the notice of reprimand. The
          temporal proximity of these events, as well as the fact that
          some were explicitly premised on Jensen’s handout
          distribution, plausibly demonstrates that Jensen’s speech
          motivated the adverse employment actions. See Anthoine,
          605 F.3d at 751.
               As for Jensen’s 2019-2020 performance review,
          Ellsworth wrote that Jensen’s “unsatisfactory” rating was
          due in part to his conduct at the Math Summit. Drawing all
          reasonable inferences in Jensen’s favor, the other reason
          given for the “unsatisfactory” rating—that Jensen had
          punitive course policies—may have been pretextual, given
          that other faculty members enforced similar policies without
          criticism or any adverse evaluation impact, and the math
          department chair recommended that Jensen be given a rating
          of “Excellent 2.” Even if this additional reason was not
          pretextual, the presence of a legitimate basis for the adverse
          employment action does not immunize the employer from
          liability unless it can show that “it would have made the
          same employment decisions even absent the questioned
          speech.” Eng, 552 F.3d at 1072. As explained, supra note 6,
          the Administrators have not at this juncture made any such
          showing.
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              This negative performance review, in combination with
          the negative review Jensen received the following year, 7
          triggered the subsequent termination proceedings under the
          mandatory provision in Section 5.13.2 of the NSHE
          Handbook. These allegations sufficiently indicate that the
          adverse employment actions were motivated, at least in part,
          by Jensen’s speech.
                         d. Balancing the State’s Interest
              A public employee’s right to speak is not absolute and
          may be outweighed by the state’s interest “as an employer,
          in promoting the efficiency of the public services it performs
          through its employees.” Pickering, 391 U.S. at 568. “Once a
          plaintiff shows that his statements were of public concern
          and that the statements were a substantial motivating factor
          for the disciplinary action taken against him, the burden
          shifts to the defendant to show that its legitimate
          administrative interests outweigh the plaintiff’s First
          Amendment rights.” Bauer v. Sampson, 261 F.3d 775, 784
          (9th Cir. 2001). In assessing the strength of the state’s
          interest, pertinent considerations include “whether the
          statement impairs discipline by superiors or harmony among

          7
            Jensen contends that his 2020-2021 “unsatisfactory” performance
          review, although not explicitly premised on the events of the Math
          Summit, was also retaliatory and “based on criteria that was not equally
          applied to other faculty.” He alleges that Flesher, the administrator
          responsible for that review, had attended the Math Summit, where she
          criticized Jensen. And the individual administrator who knew Jensen’s
          work best, the math department chair, recommended Jensen be scored
          “excellent.” In any event, because the termination proceedings would not
          have occurred without the “unsatisfactory” 2019-2020 performance
          review—which was explicitly based on Jensen’s Math Summit
          conduct—we need not determine whether Jensen has pleaded facts
          plausibly demonstrating that the subsequent performance evaluation was
          also retaliatory.
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          co-workers, has a detrimental impact on close working
          relationships for which personal loyalty and confidence are
          necessary, or impedes the performance of the speaker's
          duties or interferes with the regular operation of the
          enterprise.” Rankin, 483 U.S. at 388.
              “In many cases, factual development is necessary, so the
          balancing cannot be performed on a 12(b)(6) motion.”
          Weisbuch v. County of L.A., 119 F.3d 778, 783 (9th Cir.
          1997). Where the facts alleged do not decisively indicate that
          the state’s interest outweighs the plaintiff’s, the Pickering
          balancing is generally deferred at least to the summary
          judgment stage. 8
              The rules governing affirmative defenses support this
          practice. “Ordinarily, affirmative defenses . . . may not be
          raised on a motion to dismiss except when the defense raises
          no disputed issues of fact.” Lusnak v. Bank of Am., N.A., 883


          8
            See, e.g., Hernandez, 43 F.4th at 979 (reversing the district court’s
          dismissal and “remand[ing] for further development of the factual
          record” because “[a]lthough it seems likely that Hernandez’s posts could
          impede the performance of his job duties and interfere with the Phoenix
          Police Department's ability to effectively carry out its mission, no
          evidence of the actual or potential disruptive impact caused by
          Hernandez’s posts is properly before us at this stage”); Hyland v.
          Wonder, 972 F.2d 1129, 1140 (9th Cir. 1992) (“Determining to what
          extent Hyland’s memorandum disrupted office operations . . . involves a
          factual investigation into the nature of Hyland’s tasks, the character of
          his relationship with co-workers . . . , and the impact of the memorandum
          on office relations. . . . [T]his balancing inquiry cannot be resolved by
          this court at such an early stage in the proceedings.”); Thomas v.
          Carpenter, 881 F.2d 828, 831 (9th Cir. 1989) (holding that although the
          defendant might be able to prove at trial or on summary judgment that
          the state requires political loyalty from plaintiff for “the effective
          implementation of general departmental policy,” it could not do so on
          the facts alleged in the complaint).
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          F.3d 1185, 1194 n.6 (9th Cir. 2018). “In other words,
          dismissal based on an affirmative defense is permitted when
          the complaint establishes the defense.” U.S. Commodity
          Futures Trading Comm’n v. Monex Credit Co., 931 F.3d
          966, 973 (9th Cir. 2019). “Only when the plaintiff pleads
          itself out of court—that is, admits all the ingredients of an
          impenetrable defense—may a complaint that otherwise
          states a claim be dismissed under Rule 12(b)(6).” Durnford
          v. MusclePharm Corp., 907 F.3d 595, 603 n.8 (9th Cir.
          2018) (quoting Xechem, Inc. v. Bristol-Myers Squibb Co.,
          372 F.3d 899, 901 (7th Cir. 2004)). This rule reflects that
          affirmative defenses require the defendant to prove facts
          beyond those necessary to support the plaintiff’s prima facie
          case, making it difficult to assess the defense’s merit on a
          12(b)(6) motion where review is limited to the allegations in
          the complaint.
              Evaluating the state’s interest in conducting the
          Pickering balancing presents the same challenge. The state
          interest prong is not part of the prima facie case for First
          Amendment retaliation. See Thomas v. City of Beaverton,
          379 F.3d 802, 807-08 (9th Cir. 2004); Dodge v. Evergreen
          Sch. Dist. #114, 56 F.4th 767, 776 (9th Cir. 2022). As a
          result, a plaintiff’s complaint is unlikely to include facts
          related to the state’s interest, making it difficult to conduct
          the Pickering balancing on a motion to dismiss.
              Only in the rare cases where “the balance can only come
          out one way on the averments pleaded” do we dismiss on
          that basis. Weisbuch, 119 F.3d at 783. For example, in
          Weisbuch the plaintiff worked in a high-level position at the
          Los Angeles Department of Health Services. Id. at 781.
          Because of the nature of his position, his vocal disagreement
          with the department head’s policy decisions “necessarily”
          threatened the department’s ability to efficiently carry out
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          those policies. Id. at 783-84. Given that the department’s
          functioning required employees “in a high level supervisory
          position[] or a confidential advisory position” to agree with
          their supervisor’s general policy views, it was evident from
          the pleadings that the state’s interest outweighed the
          employee’s. Id. at 784.
              Unlike in Weisbuch, the pleadings in this case do not
          reveal any state interest that clearly outweighs Jensen’s. The
          Administrators’ only clearly asserted state interest grounded
          in the pleadings is their assertion that Jensen distributed his
          handout in violation of Ellsworth’s “express or implied
          directions.” They maintain that, in doing so, Jensen engaged
          in “insubordination,” which the state has a legitimate interest
          in preventing.
              The complaint does indicate that Jensen’s handout
          distribution was at odds with Ellsworth’s instructions. When
          Jensen passed out his handout in Ellsworth’s room, she
          “began to physically pick up copies that were distributed and
          motioned for the participants to return their copies to her.”
          After Jensen reminded Ellsworth that it was break time and
          that he was not being disruptive or disturbing anyone,
          Ellsworth “again denied Dr. Jensen the opportunity to
          distribute his handout.” In spite of this directive, Jensen
          disseminated his handout in other rooms and eventually
          returned to Ellsworth’s room to again attempt to distribute
          the handout there. 9


          9
            The Administrators also argue that Jensen’s handout distribution
          violated Ellsworth’s instruction to use the “parking lot” to express his
          concerns regarding the co-requisite policy. But Ellsworth stated that she
          did so to prevent him from verbally commenting during a session that
          had run out of time. She did not order him to use the parking lot to
          express his views during the breaks in the Summit programming.
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              But the state’s interest in punishing a disobedient
          employee for speaking in violation of their supervisor’s
          orders cannot automatically trump the employee’s interest in
          speaking. To be sure, one factor in assessing the extent of the
          state’s interest in preventing disruption is whether the
          employee’s speech “impairs discipline by superiors.”
          Rankin, 483 U.S. at 388. But, as Rankin makes clear, the
          focus of this inquiry is whether there has been a disruption
          in the office’s ability to operate: “[T]he very nature of the
          balancing test[] make[s] apparent that the state interest
          element of the test focuses on the effective functioning of the
          public employer’s enterprise,” not on whether the employee
          has been directed to cease speaking. Id. Accordingly, for a
          court “to find that the government’s interest as an employer
          in a smoothly-running office outweighs an employee’s first
          amendment right, defendants must demonstrate actual,
          material and substantial disruption, or reasonable predictions
          of disruption in the workplace.” Robinson v. York, 566 F.3d
          817, 824 (9th Cir.2009) (internal quotation marks and
          alteration omitted). Applying this standard, we have often
          held that the Pickering balancing does not favor the state in
          situations where the employee’s speech or expressive
          conduct violated orders from their supervisor.
              In Nunez v. Davis, for example, Nunez’s conduct
          violated her supervisor’s direct orders, but we concluded that
          this disobedience was not sufficient to show that her
          expressive conduct “impaired discipline.” 169 F.3d 1222,
          1226-29 (9th Cir. 1999). Similarly, in Robinson, we
          concluded that “the Pickering balancing test can favor
          protected speech even where the speech violates the
          employer’s written policy requiring speech to occur through
          specified channels.” 566 F.3d at 825. And in Dahlia v.
          Rodriguez, we held that an employee stated a claim for First
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          Amendment retaliation even though his speech ran counter
          to his supervisor’s direct orders. 735 F.3d 1060, 1075, 1080
          (9th Cir. 2013).
               In assessing the state interest, there is good reason for
          focusing on the disruptive impact of the employee’s speech,
          rather than simply disobedience to an order to stop speaking.
          If we were instead to allow an employer to prevail solely on
          the basis that the employee disobeyed the employer’s order
          not to speak, employers would have carte blanche to “stifl[e]
          legitimate speech or penalize[e] public employees for
          expressing unpopular views.” McKinley, 705 F.2d at 1115.
          Under such a regime, an employer seeking to prevent an
          employee from engaging in protected speech could do so
          simply by ordering the employee to cease. The employee
          would have to either obey or face retaliation from which
          there is no recourse. In either case, the employer would
          succeed in quashing protected speech. This type of
          suppression is to the detriment of both the speaker and the
          listener, as it undermines “[t]he public interest in having free
          and unhindered debate on matters of public importance,”
          which is a “core value of the Free Speech Clause.”
          Pickering, 391 U.S. at 573. The First Amendment cannot
          abide such a result.
              Nor do the pleadings suggest any other state interest that
          might justify the Administrators’ actions, much less
          outweigh Jensen’s interest in free expression on matters of
          public concern. Nothing in the complaint suggests that
          Jensen served in a “confidential, policymaking, or public
          contact role” where the “government’s interest in avoiding
          disruption is magnified.” Pool v. VanRheen, 297 F.3d 899,
          908 (9th Cir. 2002) (citation omitted). Nor is it evident that
          Jensen’s position was one where “personal loyalty and
          confidence are necessary.” Id. at 909. Jensen also was not
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          employed in a police department or military agency where
          “[d]iscipline and esprit de corps are vital to its functioning.”
          Cochran v. City of L.A., 222 F.3d 1195, 1201 (9th Cir. 2000);
          see also Pool, 297 F.3d at 909. 10 To the contrary, there is no
          indication in Jensen’s pleadings that his speech impaired
          TMCC’s functioning. Jensen alleges that he distributed the
          handouts in a non-disruptive manner, waiting until there was
          a break in the Math Summit’s programming to pass them
          out. And several witnesses testified during Jensen’s
          disciplinary hearing that he behaved professionally while
          distributing the handouts.
              The upshot is that at this stage there has been no showing
          of an “actual, material and substantial disruption” or
          “reasonable predictions of disruption” to support the
          Administrators’ claim that the state’s interest outweighs
          Jensen’s. Robinson, 566 F.3d at 824 (citations omitted).
          Consequently, we conclude that Jensen has pleaded a
          constitutional violation. 11
                            ii. Clearly Established Right
              We now turn to “whether the right at issue was ‘clearly
          established’ at the time of defendant’s alleged misconduct.”
          Pearson, 555 U.S. at 232. To satisfy this test, “the contours
          of the right must be sufficiently clear that a reasonable

          10
            We do not hold that Jensen could not have plausibly alleged a First
          Amendment retaliation claim if he were in such a role. We only note that
          the absence of such circumstances supports our conclusion that there is
          no apparent state interest clearly outweighing Jensen’s interests.
          11
             Some of the Administrators may turn out not to be individually liable
          based on their own actions. Because no such argument has been made on
          appeal of the dismissal on the pleadings, we do not decide whether
          Jensen has plausibly alleged that each individual Administrator’s actions
          violated the First Amendment.
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          official would understand that what he is doing violates that
          right.” Anderson v. Creighton, 483 U.S. 635, 635 (1987).
          There does not need to be “a case directly on point for a right
          to be clearly established,” but “existing precedent must have
          placed the statutory or constitutional question beyond
          debate.” Kisela v. Hughes, 584 U.S. 100, 104 (2018)
          (quoting White v. Pauly, 580 U.S. 73, 79 (2017)).
              Additionally, it is insufficient simply to show that “the
          generic First Amendment right to free speech” or “the right
          to be free from speech-based retaliatory discharge” was
          clearly established. Moran v. Washington, 147 F.3d 839, 845
          (9th Cir. 1998); Brewster v. Bd. of Educ., 149 F.3d 971, 980
          (9th Cir. 1998). “Instead, we must define the rights
          implicated . . . at a level commensurate with the specific
          factual and legal context of the case.” Dodge, 56 F.4th at
          784.
              Here, by the time of the alleged retaliation, Pickering had
          established that “the preferable manner of operating the
          school system . . . clearly concerns an issue of general public
          interest.” 391 U.S. at 571. More recently, Demers held that
          speech opining on “the nature of what [is] taught at [a]
          school” addresses a matter of public concern, putting a
          reasonable official on notice that Jensen’s speech regarding
          TMCC’s math curriculum met this criterion. 746 F.3d at
          415-16. In addition, it was clearly established at the time of
          the alleged retaliation that speech need not be aired to the
          general public to involve a matter of public concern. See
          Anthoine, 605 F.3d at 749; Rankin, 483 U.S. at 381-82, 385-
          87. Further, Demers pronounced that if a public employee’s
          speech is “related to scholarship or teaching,” it does not fall
          outside the ambit of the First Amendment simply because it
          is made pursuant to the employee’s official duties. 746 F.3d
          at 412. As Demers illustrated, speech about a department’s
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          curriculum, like that at issue here, falls squarely within the
          scholarship or teaching exception. Id. at 414-15. And it was
          clearly established that retaliatory actions like those taken by
          the Administrators constitute adverse employment actions.
          See Coszalter, 320 F.3d at 976. So at the time of the Math
          Summit incident, it was clearly established that a professor
          has a right to speak about a school’s curriculum without
          being reprimanded, given negative performance reviews,
          and put through an investigation and termination hearing.
              We note, as the district court concluded otherwise, that
          Demers’ substantive holdings as to the reach of the
          Pickering doctrine are now clearly established law. Demers
          ultimately held that qualified immunity applied in that case,
          but that was because “[u]ntil the decision in [Demers], our
          circuit ha[d] not addressed the application of Garcetti to
          teaching and academic writing.” 746 F.3d at 417. Once
          Demers clarified that Garcetti does not apply to speech
          related to scholarship or teaching, the doctrinal ambiguity
          was eliminated and does not bar Jensen’s claim.
              Ordinarily, the next Pickering step is evaluating whether
          it was clearly established that TMCC’s interest in
          maintaining an orderly workplace did not outweigh Jensen’s
          right to speak. See, e.g., Hufford v. McEnaney, 249 F.3d
          1142, 1148-49 (9th Cir. 2001); Keyser v. Sacramento City
          Unified Sch. Dist., 265 F.3d 741, 747 (9th Cir. 2001). But
          “[d]etermining claims of qualified immunity at the motion-
          to-dismiss stage raises special problems for legal decision
          making,” Keates v. Koile, 883 F.3d 1228, 1234 (9th Cir.
          2018). One such problem arises when the boundaries of the
          right at issue are delineated by a balancing test in which the
          defendant bears the burden of substantiating its interest, as is
          the case here. Determining whether it was clearly established
          that the Pickering balancing would tilt in Jensen’s favor
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          turns on the strength of the state’s interests, which, as
          discussed above, must appear from the complaint itself, if at
          all.
              We have firmly recognized “that only a ‘real, not
          imagined, disruption’ might outweigh the expressive
          interests of the employee.” Robinson, 566 F.3d at 826
          (quoting McKinley, 705 F.2d at 1115); see also Clairmont,
          632 F.3d at 1107. Again, the requirement that an employer
          substantiate their concerns of disruption applies even if the
          employer characterizes the employee’s speech as “an act of
          insubordination,” Clairmont, 632 F.3d at 1107, or the speech
          involves some degree of disobedience, Robinson, 566 F.3d
          at 825. Although the Administrators assert a state interest in
          preventing and punishing what they deem to be
          insubordination, they have not shown that there was “actual,
          material and substantial disruption” or “reasonable
          predictions of disruption” based on the facts in the
          complaint. Robinson, 566 F.3d at 824 (citations omitted).
              Faced with similar circumstances, the D.C. Circuit
          declined to grant state officials qualified immunity where the
          strength of the state’s interest could not be established from
          the pleadings. See Navab-Safavi v. Glassman, 637 F.3d 311,
          318 (D.C. Cir. 2011). 12 As was the case in Navab-Safavi,

          12
             Although the Ninth Circuit does not appear to have confronted this
          issue on a motion to dismiss, we have faced a comparable lack of
          evidentiary development regarding the weight of the state’s interest on
          summary judgment and reached a similar result. See Allen v. Scribner,
          812 F.2d 426, 436 (9th Cir. 1987), amended by 828 F.2d 1445 (9th Cir.
          1987) (“Inasmuch as the defendants’ interest in preventing the
          substantial disruption of the eradication program may have been served
          by restrictions on the free speech rights of Project employees . . . , we are
          not in a position to determine whether the above named defendants
          violated ‘clearly established constitutional rights.’”).
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          “all we have of record is the [state’s] assertion that its interest
          in performing its governmental functions . . . was sufficiently
          implicated by plaintiff’s conduct to warrant the protection of
          qualified immunity.” Id. There is not yet any “evidence in
          the record that [Jensen’s] conduct interfered with the
          performance of the governmental function,” and “we are
          unable to determine without an evidentiary record whether
          any act [the state] committed in defense of [its interests]
          constituted a violation of clearly established rights, or even
          in general terms, where the Pickering balancing tips.” Id.
          Because “it is not possible to determine at this stage as a
          matter of law that [Jensen] has not alleged a violation of
          clearly established law,” the Administrators are not entitled
          to qualified immunity at the pleading stage. Id.
              In reaching the opposite outcome, the district court
          concluded that Jensen had not shown that his right was
          clearly established. The complaint described his anti-
          retaliation right too generally, the district court said, and
          contained “only three citations—Demers, 746 F.3d 402, the
          First Amendment, and 42 U.S.C. § 1983,” which “do not
          clearly establish the specific right at issue in this particular
          case.”
              We cannot agree with this truncated analysis.
          “[A]ppellate review of qualified immunity dispositions is to
          be conducted in light of all relevant precedents, not simply
          those cited to, or discovered by, the district court.” Elder v.
          Holloway, 510 U.S. 510, 512 (1994). “A court engaging in
          review of a qualified immunity judgment should therefore
          use its ‘full knowledge of its own and other relevant
          precedents.’” Id. at 516 (alteration omitted) (quoting Davis
          v. Scherer, 468 U.S. 183, 192 n.9 (1984)). As described
          above, our review of the full range of relevant precedents
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          indicates that the Administrators are not entitled to qualified
          immunity at this stage.
                B. Official Capacity First Amendment Claim
              The district court dismissed Jensen’s official capacity
          claim, maintaining that it was barred by sovereign immunity.
          “The Eleventh Amendment bars suits against the State or its
          agencies for all types of relief, absent unequivocal consent
          by the state.” Romano v. Bible, 169 F.3d 1182, 1185 (9th Cir.
          1999). Ordinarily, this protection “extends to state
          instrumentalities and agencies,” as well as “state officials”
          sued in their “official capacity.” Krainski v. Nevada ex rel.
          Bd. of Regents of Nev. Sys. of Higher Educ., 616 F.3d 963,
          967 (9th Cir. 2010). But over a century ago, Ex parte Young
          held that Eleventh Amendment-linked sovereign immunity
          is not a barrier to suits against state officers “where the relief
          sought is prospective in nature and is based on an ongoing
          violation of the plaintiff’s federal constitutional or statutory
          rights.” Cent. Rsrv. Life of N. Am. Ins. Co. v. Struve, 852 F.2d
          1158, 1161 (9th Cir. 1988) (emphasis omitted) (citing Ex
          parte Young, 209 U.S. 123 (1908)). Under this principle, a
          plaintiff may seek “prospective injunctive relief that governs
          the official’s future conduct,” but not “retroactive relief that
          requires the payment of funds from the state treasury.” Nat’l
          Res. Def. Council v. Cal. Dep’t of Transp., 96 F.3d 420, 422
          (9th Cir. 1996). Jensen’s ability to proceed with his official
          capacity claim turns on whether he sought prospective relief.
                       i. Injunctive Relief: Expungement
              Jensen sought injunctive relief mandating “full
          expungement of all negative personal [sic] files, return of his
          2019-2020 annual performance evaluation to ‘excellent’,
          and return of his 2020-2021 annual performance evaluation
          to ‘excellent.’” The district court held that such an injunction
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          would be “retroactive” because it “more closely resemble[d]
          recovery of lost wages than true prospective relief
          addressing ongoing violations.” Jensen challenges this
          conclusion on appeal. 13
              Ninth Circuit case law establishes that expungement of
          records constitutes prospective relief and so is not barred by
          sovereign immunity. See Flint v. Dennison, 488 F.3d 816,
          825 (9th Cir. 2007). In Flint, a former college student
          brought suit against school administrators alleging that the
          spending limits imposed in student government elections
          violated his First Amendment right to freedom of speech. Id.
          at 820. In connection with this claim, Flint sought injunctive
          relief expunging any reference to his campaign spending
          violations from his disciplinary record. Id. at 824. We held
          that the expungement relief sought was not barred by
          sovereign immunity, reasoning that “the injunctions sought
          [were] not limited merely to past violations: they serve[d]
          the purpose of preventing present and future harm to [the
          plaintiff].” Id. at 825. We reached a similar conclusion in
          R.W. v. Columbia Basin College, holding that the Ex parte
          Young doctrine applied where the student plaintiff sought,
          among other things, expungement of negative records. 77
          F.4th 1214, 1226 (9th Cir. 2023); see also Elliott v. Hinds,
          786 F.2d 298, 302 (7th Cir. 1986) (“The injunctive relief
          requested here, reinstatement and expungement of personnel
          records, is clearly prospective in effect and thus falls outside
          the prohibitions of the Eleventh Amendment.”). Most
          recently, in K.J. v. Jackson, we confirmed that expungement

          13
            Jensen does not contest the district court’s determination that his
          request for “compensation from the date of judgment for salary
          adjustments he would have received had he not received the unlawful
          performance reviews” was impermissible retroactive monetary relief.
          We therefore do not address whether that is the case.
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          of information from school records is a form of prospective
          relief a student plaintiff can seek under the Ex parte Young
          doctrine. 127 F.4th 1239, 1251 (9th Cir. 2025).
              As was the case in Flint, R.W., and K.J., the
          expungement sought here is prospective in nature and so is
          not barred by sovereign immunity. Although the negative
          performance evaluations and letters of reprimand arose from
          the Administrators’ alleged past constitutional violations, Ex
          parte Young does not demand that the relief sought be
          unrelated to past violations. Rather, a plaintiff may pursue
          relief that “would relate to [a] past violation,” so long as it
          “would not amount to relief solely for the past violation.”
          Doe v. Lawrence Livermore Nat’l Lab’y, 131 F.3d 836, 841
          (9th Cir. 1997). Expungement of negative work records does
          not amount solely to relief for a past violation, because “[t]he
          goal of . . . the removal of damaging information from the
          plaintiff[’]s work record is not compensatory; rather, it is to
          compel the state official to cease her actions in violation of
          federal law and to comply with constitutional requirements.”
          Elliott, 786 F.2d at 302.
              The Administrators contend otherwise, arguing that
          cases involving student plaintiffs are not controlling. A
          student seeking expungement experiences a “self-evident
          educational or career harm inherent in the existence of the
          records at issue,” they maintain, whereas an individual
          already employed is less likely to seek future employment or
          educational opportunities that require disclosing one’s
          disciplinary record as an employee. As a result, the
          Administrators assert, for us to determine that his requested
          relief would remedy an “ongoing violation,” Jensen must
          plead with specificity what ongoing harm he will endure
          related to the existence of the negative records.
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              Putting aside the fact that Jensen has alleged specific
          ongoing harm due to the negative documents in his
          personnel file, 14 holding Jensen to a higher pleading
          standard because he is an employee rather than a student
          makes no sense. Just as a student’s negative disciplinary
          records “may jeopardize the student’s future employment or
          college career,” Flint, 488 F.3d at 824, the presence of
          negative performance evaluations or letters of reprimand in
          an employee’s personnel file poses an obvious threat to
          career advancement. Such documents, or information
          derived from them, may stymie efforts to obtain a job
          elsewhere or prevent accessing certain benefits,
          opportunities, or promotions at their current job. One might
          ask, indeed, why the Administrators are so insistent on
          retaining the disciplinary records if they do not expect to rely
          on them for anything.
              In sum, the alleged violation—First Amendment
          retaliation—is ongoing insofar as the retaliatory records
          continue to exist in Jensen’s personnel file. Because
          expungement would constitute prospective relief from this
          ongoing violation, Jensen’s First Amendment official
          capacity claim is not barred by the Eleventh Amendment.




          14
             Jensen alleges that the negative performance reviews “negatively
          impacted . . . future merit pay” and prevent him “from receiving
          employment benefits and other opportunities at TMCC.” He alleges that
          “Defendants’ unlawful actions,” which allegedly include the creation
          and retention of the records at issue, have caused ongoing “damage to
          his personal and professional reputation, denial of future employment
          opportunities and earning capacity, mental and emotional distress, and
          humiliation and embarrassment.”
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          ii. Declaratory Relief and Non-Expungement Injunctive
                                    Relief
              Even if that were not the case, Jensen sought, in addition
          to expungement, prospective relief in the form of an order
          “[e]njoining Defendants . . . to end their custom and practice
          of taking adverse employment actions against faculty who
          speak on matters of public concern” and a declaratory
          judgment that “Defendants’ adverse employment actions
          against Dr. Jensen, and Defendants’ custom or practice of
          retaliating against and terminating professors for speaking
          on matters of public concern, are unconstitutional
          abridgments of the freedom of speech.”
              Unlike its treatment of the requested expungement, the
          district court correctly recognized that this prospective
          declaratory and injunctive relief was “not barred by the
          Eleventh Amendment.” But its analysis of the injunctive
          relief stopped there. At the conclusion of its order, the
          District Court again addressed the non-expungement relief
          sought, stating that “[w]hile Eleventh Amendment immunity
          and qualified immunity do not bar Dr. Jensen’s claims for
          declaratory and injunctive relief, the Court dismisses Dr.
          Jensen’s claim for declaratory relief because all other
          substantive causes of action are dismissed.” The district
          court then proceeded to dismiss Jensen’s official capacity
          claim entirely, without identifying any reason why Jensen
          could not seek an injunction for indisputably prospective
          relief.
              The district court provided a more robust, although no
          more correct, explanation for why Jensen could not pursue
          declaratory relief. After disposing of Jensen’s substantive
          claims, the district court concluded that declaratory relief
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          was unavailable because “[d]eclaratory relief is not a
          standalone claim.”
              It is true that “[t]he Declaratory Judgment Act does not
          provide an independent jurisdictional basis for suits in
          federal court,” and so “only permits the district court to
          adopt a specific remedy when jurisdiction exists.” Fiedler v.
          Clark, 714 F.2d 77, 79 (9th Cir. 1983) (emphasis added).
          But, as the district court recognized, Jensen’s request for
          declaratory relief is prospective and can proceed under Ex
          parte Young. There is no principle precluding declaratory
          relief from being the only relief awarded, and it is quite usual
          for declaratory relief to be permitted as a “standalone claim.”
          See, e.g., Redd v. Guerrero, 84 F.4th 874, 888 (9th Cir.
          2023); Los Angeles Cnty. Bar Ass’n v. Eu, 979 F.2d 697, 700
          (9th Cir. 1992); Standard Ins. Co. v. Saklad, 127 F.3d 1179,
          1181 (9th Cir. 1997); Doc’s Dream, LLC v. Dolores Press,
          Inc., 959 F.3d 357, 359 (9th Cir. 2020). The district court
          erred in holding that Jensen could not maintain an official
          capacity First Amendment claim for declaratory relief alone.
              In sum, because Jensen sought prospective relief in the
          form of (1) an injunction to expunge various negative
          records from his personnel file, (2) an injunction to “end [the
          Administrators] custom and practice of taking adverse
          employment actions against faculty who speak on matters of
          public concern,” and (3) a “declaratory judgment that
          Defendants’ custom and practice of retaliating against
          faculty who speak on matters of public concern, including
          Dr. Jensen, violate the First Amendment,” the Eleventh
          Amendment does not bar his official capacity First
          Amendment retaliation claim.
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                      C. Procedural Due Process Claim
              The district court held that the Administrators were
          entitled to qualified immunity with respect to Jensen’s
          procedural due process claim because Jensen failed to plead
          a constitutional violation. “A section 1983 claim based upon
          procedural due process . . . has three elements: (1) a liberty
          or property interest protected by the Constitution; (2) a
          deprivation of the interest by the government; (3) lack of
          process.” Portman v. County of Santa Clara, 995 F.2d 898,
          904 (9th Cir. 1993).
              In the portion of his complaint addressing his due
          process claim, Jensen identified the following interests:
          (1) “a protected liberty interest in his good name, reputation,
          honor, and integrity,” (2) “a protected liberty interest in his
          future employment opportunities,” and (3) “a significant
          interest in avoiding termination for cause or being subjected
          to a biased hearing panel.” The district court concluded that
          none of these interests supported a due process claim.
              On appeal, Jensen does not challenge the district court’s
          conclusion that his asserted interests in his reputation, his
          future employment, and avoiding termination do not provide
          a basis for a due process claim. Instead, Jensen contends that
          he was denied due process related to the deprivation of
          (1) his “liberty interests in ensuring that his First
          Amendment rights were protected . . . , his rights under state
          law were protected, and his rights in the NSHE Handbook
          were protected,” and (2) his “property interests in his right
          to academic freedom, right to maintain standards of
          curriculum, right to have processes for faculty terminations
          followed, and right to not be charged with insubordination
          for distributing handouts.”
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              As to Jensen’s asserted “liberty interests” in ensuring his
          rights under the First Amendment and state law were
          protected, he did not plead a due process claim premised on
          either theory. Nor did he raise either argument in his briefing
          before the district court. He is foreclosed from asserting
          these theories for the first time on appeal. See One Indus.,
          LLC v. Jim O’Neal Distrib., Inc., 578 F.3d 1154, 1158 (9th
          Cir. 2009); Steam Press Holdings, Inc. v. Haw. Teamsters,
          Allied Workers Union, Loc. 996, 302 F.3d 998, 1005 (9th
          Cir. 2002).
              As to his “property interest in his right to academic
          freedom, right to maintain standards of curriculum, . . . and
          right to not be charged with insubordination for distributing
          handouts,” Jensen did raise a due process argument on these
          grounds before the district court. But, as the district court
          correctly determined, Jensen’s complaint did not assert a due
          process violation grounded in the deprivation of any of these
          interests. Jensen’s failure to plead a due process claim based
          on these interests is dispositive at this point. 15
              That leaves Jensen’s asserted interest in compliance with
          the processes for faculty terminations outlined in the NSHE
          Handbook. 16 Jensen pleads that he was deprived of due
          process when (1) he was denied subpoenas that he was


          15
             Jensen may seek to amend his complaint to add additional due process
          claims on remand. See infra p. 40-41.
          16
            Although Jensen’s briefing—which addresses his due process claim
          only briefly—is not clear on this point, we understand Jensen’s “liberty
          interest” in ensuring that “his rights in the NSHE Handbook were
          protected” and his “property interest” in his “right to have processes for
          faculty terminations followed” as describing the same set of procedural
          protections for faculty termination proceedings contained in the NSHE
          Handbook.
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          entitled to under NSHE Handbook Section 6.9.11,
          (2) Hilgersom, in violation of NSHE Handbook Section
          6.11.6(b), refused to remove one of the presiding committee
          members who had previously submitted a complaint of
          discrimination against Jensen, and (3) Brown exceeded her
          authority under NSHE Handbook Section 5.13.2(a)-(b) by
          investigating him and listing additional charges in Jensen’s
          charging documents.
              State law establishing certain procedures can, under
          some circumstances, create a property interest in accessing
          those procedures. See, e.g., Logan v. Zimmerman Brush Co.,
          455 U.S. 422, 431-32 (1982) (holding that employee had a
          property interest in accessing state agency’s adjudicatory
          procedures); Redd v. Guerrero, 84 F.4th 874, 893 (9th Cir.
          2023) (holding that capital habeas petitioner had a property
          interest in obtaining appointed counsel). But, unlike in
          Logan or Redd, Jensen has not argued that the relevant
          procedural rights in the NSHE Handbook “can be
          surrendered for value,” Logan, 455 U.S. at 431, or
          “resemble[] more traditional conceptions of property in that
          [they] ha[ve] an ‘ascertainable monetary value.’” Redd, 84
          F.4th at 893-94. Nor has he argued that these procedures
          share any other relevant characteristics with the sort of
          “individual entitlement[s]” that are generally considered to
          be property under the Due Process Clause. Logan, 455 U.S.
          at 430-31.
              Alternatively, procedures created by state law may give
          rise to a property right if the procedures present a
          “significant substantive restriction” on the decisionmaker’s
          discretion such that it transforms “what otherwise would be
          ‘an abstract need or desire’ or ‘a unilateral expectation’” as
          to the outcome of those procedures into “a legitimate claim
          of entitlement.” Parks v. Watson, 716 F.2d 646, 656-57 (9th
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          Cir. 1983) (quoting Bd. of Regents v. Roth, 408 U.S. 564,
          577 (1972)); see also Goodisman v. Lytle, 724 F.2d 818, 820
          (9th Cir. 1984); Clemente v. United States, 766 F.2d 1358,
          1364-65 (9th Cir. 1985); Nunez v. City of Los Angeles, 147
          F.3d 867, 873 n.8 (9th Cir. 1998). But here Jensen does not
          contend that he has any interest in obtaining a different
          outcome from the termination proceedings. He would be
          hard pressed to do so, given that he was not terminated or
          otherwise disciplined following the proceedings. “Absent a
          substantive property interest in the outcome of procedure,
          [Jensen] is not constitutionally entitled to insist on
          compliance with the procedure itself.” Shanks v. Dressel,
          540 F.3d 1082, 1092 (9th Cir. 2008). Thus, Jensen did not
          identify an interest that can form the basis of his procedural
          due process claim.
                          D. Equal Protection Claim
              The district court determined that the Administrators
          were entitled to qualified immunity with respect to Jensen’s
          equal protection claim because Jensen failed to plead a
          constitutional violation. “To state a claim under 42 U.S.C.
          § 1983 for a violation of the Equal Protection Clause of the
          Fourteenth Amendment a plaintiff must show that the
          defendants acted with an intent or purpose to discriminate
          against the plaintiff based upon membership in a protected
          class.” Furnace v. Sullivan, 705 F.3d 1021, 1030 (9th Cir.
          2013) (quoting Barren v. Harrington, 152 F.3d 1193, 1194
          (9th Cir. 1998)). “The first step in equal protection analysis
          is to identify the state’s classification of groups.” Country
          Classic Dairies, Inc. v. Milk Control Bureau, 847 F.2d 593,
          596 (9th Cir. 1988). “An equal protection claim will not lie
          by ‘conflating all persons not injured into a preferred class
          receiving better treatment’ than the plaintiff.” Thornton v.
          City of St. Helens, 425 F.3d 1158, 1167 (9th Cir. 2005)
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          (quoting Joyce v. Mavromatis, 783 F.2d 56, 57 (6th Cir.
          1986)).
              Jensen’s equal protection claim fails because he has not
          alleged that he belongs to a discrete class. He claims only
          that he was “treated . . . differently than similarly situated
          Professors” and “evaluated differently from other faculty.”
          These allegations do not establish membership in a class
          singled out for discriminatory treatment, nor can Jensen state
          an equal protection claim by grouping everyone besides
          himself into a “preferred class.” Thornton, 425 F.3d at 1167.
              “[A]n equal protection claim can in some circumstances
          be sustained even if the plaintiff has not alleged class-based
          discrimination, but instead claims that she has been
          irrationally singled out as a so-called ‘class of one.’”
          Engquist v. Oregon Dep’t of Agric., 553 U.S. 591, 601
          (2008). But, unlike in the legislative and regulatory context
          where the class-of-one theory of equal protection has
          traditionally been applied, the state’s role as an employer
          often “involve[s] discretionary decisionmaking based on a
          vast array of subjective, individualized assessments.” Id. at
          603. “To treat employees differently . . . is simply to exercise
          the broad discretion that typically characterizes the
          employer-employee relationship.” Id. at 605. Accordingly,
          “the class-of-one theory of equal protection has no
          application in the public employment context,” and this
          avenue is unavailable to Jensen. Id. at 607; see also Okwu v.
          McKim, 682 F.3d 841, 846 (9th Cir. 2012). The district court
          did not err in concluding that Jensen failed to plead an equal
          protection violation.
                               E. Leave to Amend
              Finally, Jensen argues that the district court abused its
          discretion in dismissing his claims with prejudice and
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          without leave to amend. Generally, a “court should freely
          give leave [to amend the pleadings] when justice so
          requires.” Fed. R. Civ. P. 15(a). “[T]his policy is to be
          applied with extreme liberality.” Owens v. Kaiser Found.
          Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (quoting
          Morongo Band of Mission Indians v. Rose, 893 F.2d 1074,
          1079 (9th Cir. 1990)).
              Denial of leave to amend a complaint is generally
          reviewed for abuse of discretion. Nunes v. Ashcroft, 375 F.3d
          805, 808 (9th Cir. 2004). “[O]utright refusal to grant the
          leave without any justifying reason appearing for the denial
          is not an exercise of discretion; it is merely abuse of that
          discretion and inconsistent with the spirit of the Federal
          Rules.” Foman v. Davis, 371 U.S. 178, 182 (1962).
          Consequently, “[a] simple denial of leave to amend without
          any explanation by the district court is subject to reversal.”
          Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052
          (9th Cir. 2003); see also DCD Programs, Ltd. v. Leighton,
          833 F.2d 183, 186 (9th Cir. 1987).
              Here, the district court gave no reason for its denial of
          leave to amend, and in doing so, abused its discretion. We
          reverse and remand so that Jensen may have the opportunity
          again to seek leave to amend his due process and equal
          protection claims.
                                 III. Conclusion
              Jensen’s First Amendment retaliation claims are barred
          by neither qualified immunity nor sovereign immunity. They
          may therefore progress past the pleading stage. Although
          Jensen’s due process and equal protection claims do not state
          a claim as pleaded, the district court abused its discretion in
          denying Jensen leave to amend without explanation. The
          district court’s dismissal order is REVERSED and
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          REMANDED for further proceedings consistent with
          this opinion.
